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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                 No. CR 18-4176 JB

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR

                Defendants.

                 JOINT MOTION FOR AMENDED SCHEDULING ORDER

         Come now, all parties, for good cause, and move the Court to issue an Amended

Scheduling Order, reflecting approximately a 60-day extension for all deadlines not previously

past (those dates remain unchanged from the original Scheduling Order). In support, the parties

state:

         As this Court is aware from previous motions, the parties are diligently working on

resolving this matter. Since the last Motion and Order extending deadlines [Doc. 77] and [Doc.

79], a substantive meeting with all defense counsel and the United States Attorney Office was

held on July 25, 2019. (A newer Motion and Order have since been entered, [Doc. 78] and [Doc.

81]). The parties are currently working on the follow-up items discussed in that meeting with the

ultimate goal of resolution of the case. As stated in previous motions, additional motions to

dismiss by the defense would be counter-productive to that possible resolution; furthermore, all

parties’, including the Court’s, time and resources may be expended unnecessarily on both those

motions and expert disclosures and issues. In order to give the parties a reasonable time to
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complete negotiations and propose a possible resolution to the Court, the parties conferred and

move the Court to enter the following proposed scheduling order:

       1. April 5, 2019                            Deadline for government to produce
                                                   discovery material, including Brady and
                                                   Giglio material (except for government’s
                                                   continuing duty to disclose);

       2. May 10, 2019                             Reciprocal discovery by the Defendants
                                                   (except for Defendants’ continuing duty to
                                                   disclose);

       3. October 9, 2019                          Expert witness notices and reports; Fed. R.
                                                   Crim. P. 16 discovery motions; Fed. R.
                                                   Crim. P. 7(f) motions;

       4. June 5, 2019                             Transcripts from government [Production to
                                                   commence immediately from the date of the
                                                   Court’s entry of the scheduling order, to be
                                                   completed no later than May 10, 2019];
                                                   Responses to Fed. R. Crim. P. 16 discovery
                                                   motions; Responses to Fed R. Crim. P. 7(f)
                                                   Motions

       5. June 19, 2019                            Replies to Fed. R. Crim. P. 16 discovery
                                                   motions; Replies to Fed R. Crim. P. 7(f)
                                                   Motions

       6. October 9, 2019                          Fed. R. Crim P. 12 pretrial motions
                                                   deadline; Daubert motions

       7. October 23, 2019                         Responses to pretrial and Daubert motions

       8. November 6, 2019                         Replies to pretrial and Daubert motions

       9. October 9, 2019                          Notices of defenses pursuant to Fed. R.
                                                   Crim. P. 12.1 and 12.3

       10. October 23, 2019                        Responses to notices of defenses

       11. December 6, 2019                        Joint jury questionnaire, with letters
                                                   regarding questions to which the parties
                                                   cannot agree.

       12. December 20, 2019                       Jencks Act disclosure deadline; Motions in
                                                   limine; Fed. R. Evid. 404(b) notices; jury
                                                   instructions; proposed voir dire; and
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       13. January 27- February 7, 2020            Jury Selection and trial, 8:30 a.m. in
                                                   Albuquerque, Pete V. Domenici U.S.
                                                   Courthouse, 460 Vermejo Courtroom.



The parties, therefore, move the Court to impose the above scheduling order.

                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2019, I filed the foregoing pleading electronically
through the CM/ECF system, which caused all parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing.

                                     By /s/ Hope Eckert
                                            Hope Eckert
